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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff

 v.                                                         Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,

                                Defendant.

______________________________________________________________________________

                                    ORDER
______________________________________________________________________________

          This matter is before the Court on Defendant Bryan Douglas Conley’s Motion in Limine

to Exclude Certain Psychological Evaluations. [R. 27.] The Court being sufficiently advised,

          IT IS HEREBY ORDERED as follows:

          1.     Defendant Conley’s Motion in Limine to Exclude Certain Psychological

Evaluations [R. 27] is GRANTED;

          2.     All psychological and psycho-educational evaluations, and associated documents,

identified, though not Bates stamped, as USA1713 - USA1766 are excluded from a trial in this

matter.

          This the ____ day of ____________, 20___.
